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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                              Office of the Clerk
        United States Courthouse
                                                                             Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                             www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                     ORDER
October 20, 2023

By the Court:
                                     RICHARD G. MARTIN,
                                             Petitioner - Appellant

No. 18-2840                          v.

                                     UNITED STATES OF AMERICA,
                                              Respondent - Appellee
Originating Case Information:
District Court No: 1:17-cv-01064-MMM
Central District of Illinois
District Judge Michael M. Mihm


The following is before the court: MOTION FOR ORDER ON PETITIONER’S
PENDING MOTION TO EXPAND THE CERTIFICATE OF APPEALABILITY, filed
on October 3, 2023, by counsel for the appellant.

The court is aware of the pending motion to expand the certificate of appealability (and
related citations of additional authority) and will rule on that motion as soon as its
docket permits.


form name: c7_Order_BTC        (form ID: 178)
